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                           Govt. Ex. 2
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   April 23, 2024                                                                                 Tel: 212 728 8000
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   VIAECF

   The Honorable Robert W. Lehrburger
   United States District Court
   Southern District ofNew York
   500 Pearl Street
   New York, NY 10007-1312

   Re:    PDV USA, Inc. v. Interamerican Consulting, Inc., No: 1:20-cv-03699-JGK-RWL

   Dear Judge Lehrburger:

   We represent PDV USA, Inc. ("PDV USA") and submit this letter in opposition to Defendant
   Interamerican Consulting Inc.' s ("Interamerican") letter motion requesting deposition and
   document discovery into "communications between PDV USA or its affiliates and the DOJ." ECF
   No. 175.

   This case is about whether Mr. Rivera performed $50 million worth of consulting services for PDV
   USA over a three month period from March - June 2017 pursuant to a March 2017 consulting
   agreement (the "Agreement"). The Agreement states that PDV USA shall pay Interamerican "as
   compensation for the completion of the Services, to PDV USA's sole satisfaction[.]" Ex. A at 1.
   According to Mr. Rivera's counterclaims and sworn testimony, he was engaged by Citgo
   Petroleum Corporation ("CITGO") to help CITGO form an independent identity from its own
   parent company, PDVSA. ECF No. 111 at 19-20; Ex.Bat 299:19-301:1. PDV USA maintains
   that Mr. Rivera never performed any consulting services for CITGO or PDV USA-allegations
   confirmed by dozens of contemporaneous documents cited in an eight count indictment against
   Mr. Rivera that Mr. Rivera and Interamerican are currently withholding from PDV USA.

   As publicly disclosed since 2019, at which time CITGO received a subpoena from DOJ, CITGO
   has been cooperating with DOJ regarding a multi-year investigation into corruption practices
   involving PDVSA, among other entities. Based exclusively on a single reference in a 2020 public
   presentation by the PDVSA Ad Hoc Board-which stated that "as part of the ongoing
   investigations, and with prior consultation with the Department of Justice, we decided to sue
   Interamerican Consulting"-Interamerican has taken the position that PDV USA brought this
   lawsuit to "curry favor with the government." ECF No. 175 at 1.

   The present dispute arose in connection with PDV USA's response to Interrogatory No. 10, which
   states in relevant part that


                                            ECF No. 175-3 at 13 (emphasis added). Based on this
   response, Interamerican now claims that "PDV USA and its attorneys have communicated
   extensively with the DOJ regarding this lawsuit." ECF No. 175 at 2. That is incorrect. The


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                         After seeing this response fu.teramerican requested the deposition of Mr.
            However fu.teramerican agreed to drop its request because PDV USA agreed to educate
   its 30(b)(6) witness on Mr. -       's recollection of what was discussed at
                   . Thus, contnuy to fu.teramerican's asse1tion, ECF No. 175 at 2, n. 4, PDV USA
   never agreed to educate its 30(b)(6) witness on what was discussed at
   let alone educate her on any other communications between outside counsel and DOJ.

   Then, at the 30(b)(6) deposition, fu.teramerican never asked the witness about
                                     . Now, fu.teramerican wants a do-over and wants additional
   depositions of outside counsel to probe "any communications between PDV USA or its affiliates
   and the DOJ " by which fu.teramerican presumably means communications between outside
   counsel and DOJ. fu.teramerican's motion should be denied.

   First, fu.teramerican is not entitled to another bite at the apple because it now realizes it should
   have asked different questions. The patties agreed that the 30(b)(6) witness would be prepared to
   testify about                                                                                    but
   fu.teramerican never asked her about that specific meeting. Even still, PDV USA 's 30(b)(6)
   representative answered numerous questions concerning DOJ communications and related issues.
   For example the witness explained what the reference to "prior consultation" with DOJ in the
   2020 presentation meant:

                  [.]'' Ex. Cat 133:4--134:2. When asked generally whether discussions with DOJ
   influenced PDV USA 's decisions to file the lawsuit, she testified that
                             Id. at 145:23-146:3; see also id. at 116:23-117:4 (testifying about who
   communicated with DOJ and how often); id. at 126: 1-17 (testifying about whether consultations
   with DOJ motivated filing oflawsuit); id. at 130:5-16 (testifying about "investigations" referenced
   in the 2020 Ad Hoc presentation); id. at 136:9-19 (testifying about whether DOJ suggested to PDV
   USA that it should file a lawsuit)· id. at 137:12-16 (testifying about whether notes or memoranda
   exist pertaining to the meetings). fu.teramerican did not use all of its time on the record, and it has
   never requested that PDV USA supplement any answers in writing.

   Second, although PDV USA did instruct the witness to not answer certain questions on grounds
   of privilege and/or work product fu.teramerican fails to show that any of those instrnctions were
   improper. The only example fu.teramerican provides is a single question in which fu.teramerican
   asked PDV USA's 30(b)(6) witness whether info1mation PDV USA received from external
   counsel shaped the decision regru·ding whether to bring this lawsuit-a question that directly calls
   for privileged communications and work product. ECF No. 175 at 2 (Ex. 4). PDV USA and this
   Court have no way of knowing what other objections fu.teramerican claims were improper. See
   Loguidicev. McTiernan , 2016 WL4487779, at *l (N.D.N.Y. Aug. 25, 2016) (denying plaintiff's

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   request for relief when she did "not provide to the Court ... the specific questions that were asked
   of [the deponent] that she believes were improperly objected to as attorney-client privileged").

   Third, on the merits, the discovery Interamerican now seeks raises insurmountable privilege
   issues. Interamerican's discovery appears directed at the theory that "Willkie attorneys instructed
   PDV USA to bring this lawsuit to help Citgo avoid scrutiny by the Department of Justice." ECF
   No. 175-6 at 1. What Willkie attorneys advised their client to do or not do is unquestionably
   protected by the attorney-client privilege. And even the communications that Willkie attorneys
   had (or did not have) with DOJ are privileged for the same reason-under Interamerican's theory,
   those communications would only matter to the extent that Willkie attorneys communicated them
   to PDV USA and then PDV USA acted upon them in deciding whether to bring the lawsuit.

   Fourth, the testimony Interamerican seeks is totally irrelevant to the parties' claims and defenses.
   Interamerican claims that the requested communications "will almost certainly shed light on
   whether PDV USA was truly dissatisfied [with Interamerican's performance] ... or simply acting
   at the behest of the DOJ." ECF No. 175 at 2. But Interamerican offers no explanation why or how
   communications with DOJ in 2019 and 2020 are relevant to whether PDV USA was satisfied with
   Interamerican's performance in early 2017. PDV USA's motivation to file this lawsuit in 2020,
   has no conceivable bearing on whether Interamerican performed anything in 2017 or whether PDV
   USA was satisfied with Interamerican' s performance under the contract when it ceased paying in
   2017. 1

   Fifth, like Interamerican's request for another deposition of Mr. Doe, at the very least,
   Interamerican should not be permitted to take depositions until the Missing Documents are
   produced. If Interamerican is entitled to probe PDV USA's "satisfaction" with Mr. Rivera's
   purported services, Interamerican should first be required to produce the dozens (if not more) of
   documents it is withholding that demonstrate the Agreement was never even designed to provide
   consulting services to "satisfy" PDV USA, but instead was designed to "creat[e] the false
   appearance that [Mr. Rivera] w[as] providing consulting services to PDV USA." United States v.
   Rivera, et. al., 1:22-cr-20552 (S.D. Fla.), ECF No 3 at p. 5, ,r 3 (emphasis added). PDV USA
   should at least be first afforded an opportunity to show these documents to the Court.

   Finally, Interamerican requests "any documents between the DOJ and PDV USA (or any of its
   affiliates and attorneys) relating to this litigation that it has not already produced." ECF No. 175
   at 3. It is not clear what Interamerican is seeking here because, as Interamerican notes in its letter,
   id. at 1, n. 2, the parties already agreed on the scope of Interamerican RFPs 9 and 10 concerning
   these topics. PDV USA did not "renege" on its agreement to produce responsive documents
   subject to a reasonable search. In fact, PDV USA reviewed tens of thousands of documents from
   a four-plus year time period from at least eight agreed upon custodians, including CITGO's then-
   general counsel. Responsive documents have either been produced or logged, and Interamerican
   has never moved to compel the production of anything on PDV USA's privilege logs.


   1 Interamerican does not even attempt to explain how communications with DOJ after the filing
   of this lawsuit could support its far-fetched theory about PDV USA's motivations for filing suit.
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   Respectfully submitted,

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   cc: All counsel of record (by ECF)




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